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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION at LEXINGTON
                                CASE NO: 6:17-CV-00084-DLB
                           THIS DOCUMENT HAS BEEN ELECTRONICALLY FILED


       AMANDA HOSKINS and
       JONATHAN TAYLOR,                                                       PLAINTIFFS,

       V.

       KNOX COUNTY, et al,                                       DEFENDANTS.
       ________________________________________________________________________

                                  NOTICE OF FILING
       ________________________________________________________________________

              Comes now the Defendant, John Pickard, by and through counsel, and hereby

       gives notice that he has served First Supplemental Answers to Interrogatories and Fifth

       Supplemental Responses to Request for Production of Documents upon the Plaintiffs,

       Amanda Hoskins and Jonathan Taylor, herein on the 25th day of February, 2019.

                                                 Respectfully Submitted,

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                                           By:    /s/ Jason E. Williams
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                                                  Counsel for Knox County, Kentucky; John
                                                  Pickard




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                                     CERTIFICATE OF SERVICE

                I hereby certify that on April 26, 2019, I electronically filed the foregoing with the
       Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
       filing to the following:

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       Jon Loevy, Esq.                                Charles David Cole, Esq.
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                                                      /s/ Jason E. Williams
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